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07                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
08                                     AT SEATTLE

09 UNITED STATES OF AMERICA,              )
                                          )
10               Plaintiff,               )
                                          )            Case No.: CR07-276-JLR
11         v.                             )
                                          )
12   ALICIA NIELSEN,                      )            DETENTION ORDER
                                          )
13               Defendant.               )
     ____________________________________ )
14

15 Offenses Charged:

16          Pharmacy Robbery in violation of 18 U.S.C.§ 2118(a) and 2.

17 Date of Detention Hearing:     December 13, 2007

18          On August 10, 2007, the defendant made her initial appearance. On August 15, 2007, a

19 detention hearing was held before United States Magistrate Judge Mary Alice Theiler after which,

20 defendant was released on an appearance bond that included restrictions that she not use,

21 consume, or possess a controlled substance, unless the substance was prescribed to her by a

22 physician. On October 11, 2007, the defendant pleaded guilty to Count 1, Pharmacy Robbery in

23 violation of 18 U.S.C. § 2118(a) and 2. A previous hearing on pretrial release violations took

24 place on November 2, 2007 (Dkt. No. 55).

25          On December 12, 2007, Pretrial Services filed a Petition for Warrant for Defendant Under

26 Pretrial Services Supervision, alleging that the defendant had violated the terms and conditions

     DETENTION ORDER                                                                         15.13
     18 U.S.C. § 3142(i)                                                                  Rev. 1/91
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01 of her bond as follows:

02          1.      Alicia Nielsen has violated the bond condition that she not use, consume, or

03                  possess a controlled substance, unless the substance is prescribed by a physician,

04                  by using opiates, cocaine, and marijuana on or about December 4, 2007.

05          2.      Alicia Nielsen violated the bond condition that she not use, consume, or possess

06                  a controlled substance, unless the substance is prescribed by a physician, by using

07                  opiates and cocaine on December 9, 2007.

08          3.      Alicia Nielsen has violated the bond condition that she participate in substance

09                  abuse treatment as directed by Pretrial Services by failing to attend outpatient

10                  treatment at Alpine Recovery Services, Inc. on December 10, and December 11,

11                  2007.

12          On December 13, 2007, the defendant appeared before the undersigned Magistrate Judge.

13 She was advised of her rights in connection with the government’s motion to revoke the bond.

14 At the hearing, the defendant admitted violations 1, 2 and 3 and waived her right to an evidentiary

15 hearing. Defendant then stipulated to detention.

16          After taking the admission of the defendant that she violated the pretrial bond as alleged

17 in violations 1, 2 and 3, the Court then considered whether the bond at issue should be revoked.

18 Pursuant to CrR 32.1, CrR46(c) and 18 U.S.C. § 3142(f), and based upon the factual findings and

19 statement of reasons for detention hereafter set forth, finds:

20          FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

21          (1)     On August 15, 2007, defendant was released on bond with pretrial supervision and

22 special conditions.

23          (2)     The defendant has failed to abide by the terms of her bond, and has admitted the

24 same.

25          (3)     The defendant has pleaded guilty to Count 1 in the Indictment.

26          (4)     The third party custodian appointed by the Court has failed to comply with her

     DETENTION ORDER                                                                           15.13
     18 U.S.C. § 3142(i)                                                                    Rev. 1/91
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01 obligations.

02          (5)    The defendant has stipulated to detention.

03          (6)    There appear to be no conditions or combination of conditions other than detention

04 that will reasonably assure the defendant’s appearance at future Court hearings as required, and

05 that will address the risk of the defendant’s danger to the community.

06          IT IS THEREFORE ORDERED:

07          (1)    Defendant shall be detained pending trial and committed to the custody of the

08                 Attorney General for confinement in a correction facility separate, to the extent

09                 practicable, from persons awaiting or serving sentences or being held in custody

10                 pending appeal;

11          (2)    Defendant shall be afforded reasonable opportunity for private consultation with

12                 counsel;

13          (3)    On order of a court of the United States or on request of an attorney for the

14                 government, the person in charge of the corrections facility in which defendant is

15                 confined shall deliver the defendant to a United States Marshal for the purpose of

16                 an appearance in connection with a court proceeding; and

17          (4)    The Clerk shall direct copies of this Order to counsel for the United States, to

18                 counsel for the defendant, to the United States Marshal, and to the United States

19                 Pretrial Services Officer.

20          DATED this 14th day of December, 2007.



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                                                  JAMES P. DONOHUE
23                                                United States Magistrate Judge

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     DETENTION ORDER                                                                         15.13
     18 U.S.C. § 3142(i)                                                                  Rev. 1/91
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